                         Case 6:17-bk-06025-KSJ            Doc 38      Filed 11/27/18      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                11/27/2018 11:00 AM
                                                                COURTROOM 6A, 6th Floor
HONORABLE KAREN JENNEMANN
CASE NUMBER:                                                    FILING DATE:
6:17-bk-06025-KSJ                        7                        09/08/2017
Chapter 7
DEBTOR:                Eliel Santos
                       Sarah Santos
DEBTOR ATTY:           Alejandro Rivera
TRUSTEE:               Marie E. Henkel
HEARING:
Motion by Trustee to Sell Property Free and Clear of Liens.
Property description: 345 Princeton Ave, Rahway, NJ 07065
(Doc #35)
Note: Discharged 12/19/17
Prior Case: 05-10045, Chapter 7 filed in New Jersey Bankruptcy
Court Njbk on 01/02/2005 , Standard Discharge on 03/31/2005.

APPEARANCES::
Isabel Freeman: D'or Atty
Kristen Henkel: Trustee Atty

RULING:
Motion by Trustee to Sell Property Free and Clear of Liens. Property description: 345 Princeton Ave, Rahway, NJ 07065 (Doc
#35) - Granted: Order by Henkel.

 (Pro by LL)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:17-bk-06025-KSJ                     Chapter 7
